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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                I
                                                                 for the
                                                     Southern District of New York      i
                         Keny Norales




                           Plaintifl(s)
                                V.                                         Civil Action No.
 Park Avenue South Management LLC and 192-208
                 Nagle Ave. LLC


                          Defendant(s)

                                                    SUMMONS IN A CIVIL ACTION
                                   Park Avenue South Management LLC and 192-208 Nagle Ave. LLC
To.. (Defendants, name and address)200
                                       Nagle Ave, New York, NY 10034




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Pro'GcJi\liW ��aWrtsk99 motion must be served on the plaintiff or plaintiff's attorney,
                                       ad
whose name and address are: Naydenskiy Law Firm, LLC
                               426 Main St, #201
                               Spotswood, NJ, 08884
                               718-808-2224


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                              CLERK OF COURT

               5/2/2025                                                               s/ G. Pisarczyk
Date:
                                                                                        Signature of Clerk or Deputy Clerk
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